Case 1:03-cv-OlllO-STA Document 31 Filed 04/18/05 Page 1 Of 2 Pag_e|D 30

IN THE UNITED STATES DISTRICT COURT By`§tyk 00
FoR THE WESTERN DISTRICT oF TENNESSEI§$APR 13 PH l
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EASTERN DIVISION ,QOEE_W
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wo,“§~,,~“};!$ Qg?%(§
JIMMY WAYNE FoRsYTHE and wife, ) -f~'~ic/{SON-
FREDA JoY FoRsYTHE, )
)
Plaintiffs, )
)
vs. ) No. 03-1110-T/An
)
RUPORT BARNES and DoGGETT )
AUTo & TRUCK sALvAGE, iNc., )
)
Defendants. )

 

ORDER OF REFERENCE

 

On April 12, 2005, plaintiffs filed a motion to amend the scheduling order, combined
with a motion to continue the trial date. The motions are hereby REFERRED to U.S.
Magistrate S. Thomas Anderson for disposition.

IT IS SO ORDERED.

 

 

UN ED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:03-CV-01110 Was distributed by faX, mail, or direct printing on
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Louis F. Allen

GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

Memphis7 TN 38103

T. Verner Srnith
112 N. Liberty
Jacl<son7 TN 38302

Terry L. Hill

MANIER & HEROD

150 Fourth Ave. North
Ste. 2200

Nashville, TN 37219--249

Honorable J ames Todd
US DISTRICT COURT

